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                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                                                                                    July 31, 2020
                         UNITED STATES DISTRICT COURT
                                                                                 David J. Bradley, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

MALIBU MEDIA, LLC,                           §
                                             §
        Plaintiff,                           §
VS.                                          § CIVIL ACTION NO. 2:20-CV-153
                                             §
JOHN DOE, et al,                             §
                                             §
        Defendants.                          §

                                  FINAL JUDGMENT

       Pursuant to the parties’ Stipulation of Dismissal with Prejudice (D.E. 34), the

Court enters final judgment dismissing this action with prejudice.

       ORDERED this 31st day of July, 2020.


                                             ___________________________________
                                             NELVA GONZALES RAMOS
                                             UNITED STATES DISTRICT JUDGE




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